        Case 4:04-cr-00249-JM         Document 443        Filed 08/11/08     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

V.                                                             4:04CR00249-03 JMM

SHELLY M. GULLEY



                                   AMENDED JUDGMENT

       The Motion to Amend Restitution (Docket # 439) is GRANTED. The Judgment entered

on June 26, 2006 is amended as stated in the Motion with respect to Account 29. The Judgment

shall reflect a total restitution amount of $136,504.68. This amount shall remain joint and

several with the defendants listed in the original Judgment.

       IT IS SO ORDERED this 11th day of August, 2008.



                                                               ______________________________
                                                               James M. Moody
                                                               United States District Judge
